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                      EXHIBIT 4E
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                           Addendum to Compensation for Business Economic Loss Claims:
                                  Compensation for Spill-Related Cancellations

A. Eligibility
   This addendum sets forth the exclusive compensation methodology for business claimants that
   provide appropriate documentation and which establish causation by demonstrating (a) a Spill-
   Related Cancellation pursuant to Causation for Business Economic Loss Claims Section II.D or Section
   III.D, or (b) the Modified V-Shaped Revenue Pattern and a contract cancellation pursuant to
   Causation for Business Economic Loss Claims Section II.B or Section III.B.

B. Definitions

    1. A “Canceled Contract” shall be a contract (i) which was in place as of April 20, 2010, (ii) to be
       performed between April 21, 2010 and December 31, 2010, (iii) which was canceled between
       April 21, 2010 and December 31, 2010, (iv) which the claimant was unable to replace on the
       same or similar terms between April 21, 2010 and the date the claimant’s claim is filed, and
       (v) for which causation was established pursuant to the provisions of Causation for Business
       Economic Loss Claims specified in Addendum Section A above.1

    2. A “Canceled Reservation” shall be a reservation (i) which was in place as of April 20, 2010,
       (ii) which was to occur between April 21, 2010 and December 31, 2010, (iii) which was canceled
       between April 21, 2010 and December 31, 2010, (iv) which the claimant was unable to rebook
       on the same or similar terms, and (v) for which causation was established pursuant to the
       provisions of Causation for Business Economic Loss Claims specified in Addendum Section A
       above.

    3. A “Replacement Contract” shall be a contract (i) which the claimant entered after April 21, 2010
       and after the Canceled Contract was canceled, but before December 31, 2010, (ii) which
       provided complete or partial replacement of profit expected from the Canceled Contract, and
       (iii) for which services were performed between April 21, 2010 and December 31, 2010.

    4. A “Replacement Reservation” shall be a reservation (i) which the claimant booked between April
       21, 2010 and December 31, 2010, and after the Canceled Reservation was canceled, (ii) which
       provided partial replacement of profit expected from the Canceled Reservation, and (iii) which
       was completed between April 21, 2010 and December 31, 2010.

C. Compensation:

    Compensation for the claimants listed in Addendum Section A above shall be calculated as follows:




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 As used in this Addendum, “contracts” shall refer to agreements entered in the normal course of business and
shall specifically exclude contracts for the sale of real property, fixed assets, non-operating assets, or for all or a
portion of the business itself.




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1. Determine lost revenue from the Canceled Contract or Canceled Reservation

   a. “Lost Contract Revenue” shall be the amount that a claimant would have been paid by a
      customer between April 21, 2010 and December 31, 2010 in connection with a Canceled
      Contract, had that contract not been canceled as a result of the DWH Spill.

       Lost Contract Revenue shall be determined based on information set forth in the Canceled
       Contract, and, if necessary, other contemporaneous documentation provided by the
       claimant, such as purchase orders or shipping schedules. Lost Contract Revenue may
       include any food, beverage, or other ancillary revenue that the claimant can demonstrate
       would have been expected in connection with the Canceled Contract.

   b. “Lost Reservation Revenue” shall be the amount that a claimant would have been paid by a
      customer (or customers) between April 21, 2010 and December 31, 2010 in connection with
      a Canceled Reservation, had that reservation not been canceled as a result of the DWH Spill.

       Lost Reservation Revenue shall be determined based on information set forth in the
       documentation reflecting the terms of the Canceled Reservation, and/or other
       contemporaneous documentation provided by the claimant. Lost Reservation Revenue may
       include food and beverage sales that the claimant can demonstrate would have been
       expected in connection with the Canceled Reservation.

2. Determine lost profit associated with the Canceled Contract or Canceled Reservation

   “Lost Contract Profit” shall be the amount of variable profit that a claimant would have earned
   between April 21, 2010 and December 31, 2010 in connection with a Canceled Contract, had
   that contract not been canceled as a result of the DWH Spill.

   “Lost Reservation Profit” shall be the amount of variable profit that a claimant would have
   earned between April 21, 2010 and December 31, 2010 in connection with a Canceled
   Reservation, had that reservation not been canceled as a result of the DWH Spill.

   If (i) the Canceled Contract or Canceled Reservation documentation either specifies costs to be
   incurred by the claimant, or specifies a profit margin in connection with the Canceled Contract
   or Canceled Reservation, or (ii) the claimant is otherwise able to provide a specific estimate of
   the profit expected from the Canceled Contract or Canceled Reservation based on specific
   accounting for prior events that took place after January 1, 2007 and were comparable in terms
   of type, size and revenue, the claimant’s lost profits associated with the Canceled Contract or
   Canceled Reservation shall be determined according to (a) below. Otherwise the claimant’s lost
   profits associated with the Canceled Contract or Canceled Reservation shall be determined
   according to (b) below.

   a. Canceled Contracts or Canceled Reservations with Explicit Cost Information

       For Canceled Contracts and/or Canceled Reservations with explicit cost information, Lost
       Contract Profit and Lost Reservation Profit shall be determined as follows:


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         i.    Identify the variable expenses that would have been incurred (but were not actually
               incurred) by the claimant in carrying out the Canceled Contract or Canceled
               Reservation according to either (i) the information set forth in the Canceled
               Contract or Canceled Reservation documentation, or (ii) documentation provided by
               the claimant regarding variable expenses incurred in connection with prior events
               which were comparable in terms of type, size and revenue and took place after
               January 1, 2007. The total variable expenses shall also include any commissions or
               bonuses that would have been paid to sales or other staff had the Canceled
               Contract or Canceled Reservation not been canceled.

         ii.   Sum (a) total variable expenses associated with the Canceled Contract or Canceled
               Reservation and (b) any cancellation fees, non-refundable deposits or other
               amounts received by the claimant in connection with the Canceled Contract or
               Canceled Reservation and (c) the liquidation or salvage value of any product which
               remains unsold as of the claim filing date.

        iii.   Subtract the sum of (ii) from the Lost Contract Revenue or Lost Reservation Revenue
               as applicable.

   b. Canceled Contracts or Canceled Reservations without Explicit Cost Information

       For Canceled Contracts and/or Canceled Reservations without explicit cost information, Lost
       Contract Profit and Lost Reservation Profit shall be determined as follows:

         i.    Determine the variable margin for the claimant’s business for the period May
               through December 2009 by dividing:

                   1. The claimant’s total variable expenses from May through December 2009
                      (where variable expenses include those identified in Attachment A to the
                      Compensation Framework for Business Economic Loss Claims) by

                   2. The claimant’s total revenues from May through December 2009.

         ii.   Multiply the claimant’s variable margin calculated in A.2.b.i by the claimant’s Lost
               Contract Revenue or Lost Reservation Revenue, as appropriate.

        iii.   From the result of (ii), subtract any non-refundable deposits or other amounts
               received by the claimant in connection with the Canceled Contract or Canceled
               Reservation and the liquidation or salvage value of any product which remains
               unsold as of the claim filing date.

3. Determine revenue from the Replacement Contract or Replacement Reservation

   a. “Replacement Contract Revenue” shall be the amount that a claimant was paid by a
      customer between April 21, 2010 and December 31, 2010 in connection with a Replacement
      Contract.

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       Replacement Contract Revenue shall be determined based on documentation establishing
       actual revenue received (such as, for example, purchase orders and/or shipping schedules)
       including, if relevant, information set forth in the Replacement Contract, provided that
       actual cash receipts or other activity shall be used if conflicting information is provided.
       Replacement Contract Revenue must include any food, beverage, or other ancillary revenue
       that the claimant earned in connection with the Replacement Contract, if relevant.

   b. “Replacement Reservation Revenue” shall be the amount that a claimant was paid by a
      customer (or customers) between April 21, 2010 and December 31, 2010 in connection with
      a Replacement Reservation.

       Replacement Reservation Revenue shall be determined based on documentation
       establishing actual revenue received, including, if relevant, information set forth in the
       documentation reflecting the terms of the Replacement Reservation, provided that actual
       cash receipts or other activity shall be used if conflicting information is provided.
       Replacement Reservation Revenue must include food and beverage sales that the claimant
       made in connection with the Replacement Reservation, if relevant.

4. Determine profit associated with the Replacement Contract or Replacement Reservation

   “Replacement Contract Profit” shall be the amount of variable profit that a claimant earned
   between April 21, 2010 and December 31, 2010 in connection with a Replacement Contract.

   “Replacement Reservation Profit” shall be the amount of profit that a claimant earned between
   April 21, 2010 and December 31, 2010 in connection with a Replacement Reservation.

   If contemporaneous documentation regarding the Replacement Contract or Replacement
   Reservation establishes the actual costs incurred by the claimant in carrying out the
   Replacement Contract or Replacement Reservation, the claimant’s variable profits associated
   with the Replacement Contract or Replacement Reservation shall be determined according to
   (a) below. Otherwise the claimant’s variable profit associated with the Replacement Contract or
   Replacement Reservation shall be determined according to (b) below.

   a. Replacement Contracts or Replacement Reservations with Actual Cost Information

          i.   Identify the variable expenses that were actually incurred by the claimant in
               carrying out the Replacement Contract or Replacement Reservation according to
               documentation provided by the claimant and/or information set forth in the
               Replacement Contract or Replacement Reservation documentation, provided that
               information regarding actual costs shall be used where conflicting sources of cost
               information exist. The total variable expenses shall also include any commissions or
               bonuses that were paid to sales or other staff had the Replacement Contract or
               Replacement Reservation not been canceled.

         ii.   Subtract the total variable expenses associated with the Replacement Contract or
               Replacement Reservation from the Replacement Contract Revenue or Replacement
               Reservation Revenue, respectively.
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      b. Replacement Contracts or Replacement Reservations without Actual Cost Information

             i.    Determine the variable margin for the claimant’s business for the period May
                   through December 2009 by dividing:

                       1. The claimant’s total variable expenses from May through December 2009
                          (where variable expenses include those identified in Attachment A to the
                          Compensation Framework for Business Economic Loss Claims) by

                       2. The claimant’s total revenues from May through December 2009.

            ii.    Multiply the claimant’s variable margin calculated in A.2.b.i by the claimant’s Lost
                   Contract Revenue or Lost Reservation Revenue, as appropriate.

   5. Calculate Total Compensation Related to the Canceled Contract or Canceled Reservation

      “Spill-Related Cancellation Compensation” shall be compensation for the Canceled Contract or
      Canceled Reservation, net of amounts received in connection with any Replacement Contract(s)
      or Replacement Reservation(s), as applicable, and shall be calculated as follows:

          a. The claimant’s Lost Contract Profit/Lost Reservation Profit (calculated in Step 2), less
          b. Any Replacement Contract Profit or Replacement Reservation Profit (calculated in Step
             4), less
          c. Any payments received by the claimant from BP or the GCCF pursuant to BP’s OPA
             claims process compensating for the loss, as well as VoO Settlement Payment Offset and
             VoO Earned Income Offset related to the Canceled Contract or Canceled Reservation.

       An RTP shall apply to claimant’s Spill-Related Cancellation Compensation consistent with the
      claimants industry and/or zone.

D. Documentation

   A claimant shall also provide documentation establishing any Replacement Contract or Replacement
   Reservation, including the following:

   1. Documentation regarding any Canceled Contract(s) or Canceled Reservation(s), including the
      following:

          a. A copy of each Canceled Contract and documentation establishing the terms of each
             Canceled Reservation.

          b. Documentation providing contemporaneous written evidence that each Canceled
             Contract and each Canceled Reservation was canceled as the direct result of the DWH
             Spill, and/or a Sworn Written Statement from an individual third party affirming that
             each cancellation was due to or resulting from the DWH Spill.

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       c. Documentation providing contemporaneous written evidence that the claimant was not
          able to replace each Canceled Contract or Canceled Reservation on the same or similar
          terms, provided, that if no such documentation exists, the claimant may provide a
          Sworn Written Statement (1) stating that no such contemporaneous written evidence
          exists, (2) describing the claimant’s efforts to replace the Canceled Contract or Canceled
          Reservation, and (3) describing the extent to which the claimant was not able to replace
          the Canceled Contract or Canceled Reservation.

       d. If not provided in a Canceled Contract or the Canceled Reservation documentation, the
          claimant shall provide documentation establishing revenue (including any food,
          beverage or other ancillary revenue) expected in connection with that Canceled
          Contract and/or Canceled Reservation and one of the following:

            i. Documentation establishing variable expenses (including any variable expenses
               related to any food, beverage or other ancillary revenues) incurred in connection
               with prior events which were comparable in terms of type, size and revenue and
               took place after January 1, 2007

               OR

            ii. Documentation establishing the total revenue and total variable expenses for the
                claimant’s business for the period May 1 through December 31, 2009.

            Variable expenses include those identified in Attachment A to the Compensation
            Framework for Business Economic Loss Claims.

       e. Documentation establishing any cancellation fees, non-refundable deposits or other
          amounts received by the claimant in connection with the Canceled Contract or Canceled
          Reservation.

       f.   Documentation reflecting the liquidation or salvage value of any product which remains
            unsold as of the claim filing date.

2. Documentation regarding any Replacement Contract(s) or Replacement Reservation(s), if
   relevant, including the following:

       a. A copy of each Replacement Contract and documentation establishing the terms of each
          Replacement Reservation.

       b. Documentation establishing projected and actual revenues and variable expenses
          related to each Replacement Contract and each Replacement Reservation, including any
          food, beverage or other ancillary revenue and/or expenses recognized in connection
          with each Replacement Contract and each Replacement Reservation. The claimant
          must also provide the basis for such amounts and any corresponding supporting
          documentation. Variable expenses include those identified in Attachment A to the
          Compensation Framework for Business Economic Loss Claims.


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